              Case 2:20-mc-00009-RSL Document 11 Filed 10/20/20 Page 1 of 1




 1
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     NEURO SCIENCE TECHNOLOGIES,            )
 8   LLC,                                   )
                                            )                 Case No. MC20-0009RSL
 9                         Plaintiff,       )
                v.                          )
10                                          )                 ORDER
     LAWRENCE A. FARWELL,                   )
11                                          )
                           Defendant.       )
12   _______________________________________)
13
             On February 25, 2020, the Court entered a judgment by stipulation following arbitration
14
     between the parties in the above-captioned matter. Dkt. #2. Third-party Brainwave Science, Inc.,
15
     has filed a motion to intervene arguing that the judgment was procured by fraud on the Court and
16
     should be vacated. Dkt. # 5. The motion is opposed. Dkt. # 8-10. In light of the contested nature
17
     of this proceeding, the Clerk of Court is directed to assign a civil action number.
18
19
             Dated this 20th day of October, 2020.
20
21
22
                                                Robert S. Lasnik
                                                United States District Judge
23
24
25
26


     ORDER
